 Case 2:23-cv-02963-SB-PVC Document 69 Filed 05/22/24 Page 1 of 27 Page ID #:589

                                                                                                     5~ ~~u:.~



 1      Clinton Glen Crisher                           (Full Name)                         2 24 ~AV' 22 PSI 12' 2~
                                                                                                            ~IiJI Vi4li~ LUV[11
 2      terrificdistraction@gmail.com                                                        ~. ~:: 1 '.
                                                       (Email Address)
                                                                                            L'Et~lTE~OS ~~~,t~~S
 3      1422 N Kingsley Drive Apt 110
                                                       (Address Line l)
                                                                                            G~'~~.~ __---- - -
 4 Los Angeles, CA 90027                               (Address Line 2)

 5      323-447-2622                                   (Phone Number)

 6      Plaintiff                         in Pro Per
       (indicate Plaintiffor Defendant)
 7

 8
 9                                     UNITED STATES DISTRICT COURT
                                      CENTRAL DISTRICT OF CALIFORNIA
10
11      CLINTON GLEN CRISHER                                                  Case No.: 2=23-cv-02963-SB-PVC
12 '
                            Plaintiff,
13                                                                            MEMORANDUM OF POINTS
             vs.
14     U.S. BANK NATIONAL                                                     AND AUTHORITIES IN SUPPORT
15     ASSOCIATION                                                            OF MOTIONTO REVERSE THE
16                                                                            ORDER OF DISMISSAL AND
17                                                                            MOTION TO VACATE THE PRIOR
                            Defendant(s).
18                                                                            ORDER TO COMPEL ARBITRATION
19
20
                                                                              Hearing Date: Jae 28, 2024
21                                                                            Hearing Time• 8~3o AM
22
                                                                              Judge: Hon. Stanley Blumenfeld, Jr.
                                                                                                      (Judge's name)
23
                                                                              Ptace: Courtroom:6C
24                                                                                           (courtroom number)



25
26
27
28

         Revised: December 2015
         Form Prepared by Public Counsel.
         D 2011 Public Counsel. All rights reserved.                      1

                                                Memorandum ofPoints and Authoriries
     Case 2:23-cv-02963-SB-PVC Document 69 Filed 05/22/24 Page 2 of 27 Page ID #:590


 1,
                                                I. INTRODUCTION
 2
 3
 4             (Include a briefstatement ofthefacts and the procedure in the case that are relevant to this motion.)
 5 "A poor credit history is the "Scarlet Letter" ofthe 20th Century America."
 6     136 Cong. Rec. H5325-02(daily ed. July 23, 1999)(statement of Rep. Annunzio)
 7     cited in Fed. Trade Comm'n v. Gill, 265 F.3d 944,947(9th Cir. 2001)."[T]he
 8 [FCRA]sought to make consumer reporting agencies exercise their grave
 9     responsibilities in assembling and evaluating consumers' credit, and disseminating
10     information about consumers' credit with fairness, impartiality, and a respect for
11     the consumer's right to privacy."' Id.; and, 15 U.S.C. § 1681(x)(4); see also
12     Guimond v. Trans Union Credit Info. Co.,45 F.3d 1329, 133(9th Cir. 1995)
13 ("The FCRA was the product ofcongressional concern over abuses in the credit
14     reporting industry.").
15     Here, Plaintiff CLINTON GLEN CRISHER ("Plaintiff') was forced to
16     bring this lawsuit against Defendant U.S. BANK NATIONAL ASSOCIATION
17 ("U.S. Bank")for violations ofthe Fair Credit Reporting Act, 15 U.S.C. §§
18     1681, et seq.("FCRA"); California Consumer Credit Reporting Agencies Act;
19     California's identity theft statutes, California Civil Code §§ 1798.92-1798.97 and
20    California Penal Code § 530.8.
21
22     MOTION TO REMAND FROM ARBITRATION BACK TO CIVIL COURT
23     Code Civ. Proc. § 1281.97 states:(a)(1)In a consumer arbitration that requires,
24    either expressly or through application of state or federal law or the rules ofthe
25    arbitration provider, the drafting party to pay certain fees and costs before the
26    arbitration can proceed, if the fees or costs to initiate an arbitration proceeding
27    are not paid within 30 days after the due date the drafting party is in material
28     breach ofthe arbitration agreement, is in default ofthe arbitration, and waives its



                                                       2
                                        Memorandum ofPoints and Authorities
     Case 2:23-cv-02963-SB-PVC Document 69 Filed 05/22/24 Page 3 of 27 Page ID #:591




 1      right to compel arbitration under Section 1281.2. Defendants cannot overcome
 2     failure to timely pay by citing the FAA. The court in Gallo v. Wood Ranch
 3     USA,Inc.(2022)81 Cal.App.Sth 621 - decided July Z5, 2022 found that the
 4     found that the Federal Arbitration Act(FAA)does not preempt SB 707:"the
 5      California Legislature enacted Code of Civil Procedure sections 1281.97,
 6      1281.98 and 1281.99. These provisions obligate a company or business who
 7      drafts an arbitration agreement to pay its share of arbitration fees by no later than
 8     30 days after the date they are due, and specify that the failure to do so constitutes
 9     a 'material breach ofthe arbitration agreement' that gives the consumer ... the
10     option of... withdrawing from arbitration and resuming the litigation in a_judicial
11     forum.
12
13     On February 29, 2024,the American Arbitration Association(AAA)sent the
14     parties a letter confirming the rules for arbitration and seeking payment of the
15      initial administrative fees. Exhibit "A" AAA explained: "An arbitrator is
16     appointed; therefore, the Case Management Fee of$1400 and an arbitrator
17     compensation deposit of$2500 are due from the Business. An invoice is enclosed
18     facilitate payment by the Business pursuant to California Code of Civil Procedure
19     sections 1281.97 and 1281.98. The invoice is provided to all case participants
20     pursuant to these statutes. Payment can be made by credit card, eCheck, wire,
21     or check. If paying by check, please send payment via a trackable delivery service
22     Payment from the Business is due upon receipt. As this arbitration is subject to
23     California Code of Civil Procedure sections 1281.97 and 1281.98, payment from
24     the Business must be paid by 30 days from the date of this letter or the AAA may
25     close this case. In accordance with California Code of Civil Procedure section
26     12(a), please note that since this date falls on a weekend or holiday, payment
27     must be paid by April 1, 2024. Pursuant to California Code of Civil Procedure
28     section 1281.98, the AAA cannot grant any extensions to this payment deadline



                                                    3
                                   Memorandum of Points and Authorities
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 1     unless all parties agree. Ifthe Business does not pay the required fees for this
 2     arbitration by April 1, 2024,the AAA will seek direction from the Consu
                                                                                  mer
 3     regarding their options under California Code of Civil Procedure section
 4     1281.98. According to R1(d)ofthe Consumer Arbitration Rules, should the
 5     AAA decline to administer this arbitration, either party may choose to submit
 6     its dispute to the appropriate court for resolution."
 7
 8     On April Z,2024, the American Arbitration Association(AAA)sent a letter
 9     confirming Nonpayment for the Case Management Fees. Exhibit "B"
10
Z1     On Apri124, 2024,the American Arbitration Association sent a letter confirming
12     that the AAA had administratively closed the case due to the Business's
13     non-payment ofthe required fee and/or deposit. E~ibit "C"
14
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                                                   4
                                   Memorandum ofPoints and Authorities
 Case 2:23-cv-02963-SB-PVC Document 69 Filed 05/22/24 Page 5 of 27 Page ID #:593




 1                                       11. ARGUMENT
 2
 3   On May 26,2023, Document 31 Supplement Joint Report Rule 26(~ included
 4   the requested arbitration agreements for all three credit card accounts as
 5   E~ibits H,F and G. After reviewing these tluee agreements more closely it
 6   is clear these are the result ofIdentity Theft. Document 31-8 Exhibit H is the
 7   Platinum Visa which became effective on August 16,2022. Document 31-6
 8   Exhibit F is the Altitude Go Visa which became effective on November 29,
 9   2022. Document 31-7 Exhibit G is the Cash +Visa which became effective
10   on August 16, 2022. The Credit Agreement Effective Date means the date a
11   Credit Agreement was approved and is entered into and becomes effective.
12   Plaintiff never entered into valid arbitration agreements with the Defendant
13   in 2022 when the negative reporting occurred.
14
15   Here, U.S. Bank has not met its initial burden of producing a written agreement
16   to arbitrate in the form ofthe Card Agreements. U.S. Bank did however produc
                                                                                        e
17   compelling evidence that supports Mr. Crisher's claim ofIdentity Theft. The
18   Motion to Compel Arbitration and Dismiss Document 40 included Document
19   40-3 E~ibit B,E,H. Exhibit B for the Platinum Visa which became effective
20   on February 27,2020. Exhibit H for the Altitude Go Visa which became effecti
                                                                                         ve
21   on September 10, 2021. Exhibit E for the Cash +Visa which became effective on
22   Apri18, 2021. Both sets of Card Agreements reflect dates that are different and
23   based on the factual conflict between the authentication ofthe arbitration clause
24   and the consumers argument that he never opened the accounts in 2022

25   because those credit card accounts were procured by identity theft. In this case
26   Plaintiff asserted that he "never activated a credit card on the Platinum Visa
27   Account with an account nwnber ending in -8756 and Plaintiff states that he
28   did not activate cards with two ofthose numbers -7176, and -6957 with the Cash



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                                 Memorandum ofPoints and Authorities
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 1   Plus account attached his declaration(Dkt. 42), wherein he explains that he never
 2    opened the accounts at issue in [this] lawsuit." See, e.g., Chester v. DirecTV,
 3    L.L.C.,607 Fed.Appx. 362,364(5th Cir. 2015)(holding an agreement was
 4    properly in issue when the plaintiff "unequivocally denied making it and
 5    produced an affidavit providing as such"); Barton v. Trans Union, LLC,No.
 6   20-966, 2020 WL 2992422, at *1 (E.D. Pa. June 4,2020)(finding that a "copy
 7    ofan identity theft report" E~ibit"D" was "sufficient to create a genuine issue of
 8   fact putting the contracts formation at issue"). As such,the false claim relating to
 9    whether Plaintiff in 2022 opened the same credit cards he had closed in 2021
10   is impossible unless procured by identity theft. As in summary judgment,
11   the court must draw all reasonable inferences in Plaintiffs favor and avoid
12    making credibility determinations when weighing his evidence against U.S.
13    Bank's. To this end, while U.S. Bank's records on the disputed accounts have not
14    been provided, there is at this stage no evidence that Plaintiff was responsible for
Z5   the claimed 2022 transactions. Further, as Plaintiff has not yet had the opportunity
16   of discovery, it would be unfair at this point to expect production of evidence
17   beyond PlaintifFs own word to rebut U.S. Bank's less accurate and conflicting
18    evidence. If Plaintiff is able to prove identity theft, it would be "contrary to
19    logic and common sense" to enforce "terms of a credit application agreement
20    for an account that was opened by Defendant at the request of a defrauder."
21   Maranto, 2005 WL 3369948, at *2. The FAA states that if a genuine issue
22   concerning formation is idenrified, "the court shall proceed summarily to the trial
23    thereof,"and that the court may "hear and determine such issue" with a jury if
24   the party request one.9 U.S.C. § 4. Plaintiff requests "a Trial by Jury after

25   both parties have had a chance to take the much needed discovery of evidence. In
26 f presenting a triable issue of conflicting facts, the court must conclude that the
27   Defendants evidence of multiple agreements with two different sets of dates
28   supports Plaintiffs claim that the cards opened in 2022 were fraudulently opened.



                                               6
                                 Memorandum ofPoints and Authorities
 Case 2:23-cv-02963-SB-PVC Document 69 Filed 05/22/24 Page 7 of 27 Page ID #:595




 2
                                     III. CONCLUSION
 3
 4         For the reasons stated above, this Court should reverse the order of
 5   Dismissal and vacate the order to compel arbitration because the drafting party
 6 (U.S. Bank)relied on mulriple conflicting card agreements for the same accounts
 7   and is in material breach ofthe arbitration agreement, is in default of the
 8   arbitration, and waives its right to compel the Plaintiffto proceed with the
 9   arbitration as a result of the material breach. Plaintiff also ask the court to impos
                                                                                          e
10    sanctions to cover the Plaintiffs expert fees in accordance with Section 1281.99.
11
12
13
14                                    Dated: May 21,2024
Z5
16
17                                  Sign: Clinton Glen Crisher
18                            Print Name: Clinton Glen Crisher
19                                            Plaintiff             in pro per
20                                           (indicate Plaintiffor Defendant)
21
22
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                                                 7
                                Memorandum ofPoints and Authorities
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                AMERICAN
                                  ~NTERNATIONAI CENTRE
                ARBITRATION                                                                     P•O. BOX 196OJ
                                  FOR DISPUTE RESOLUTION
                ASSOCIATION`                                                                 Johnston, RI 02919




February 29, 2024

Clinton G. Crisher                                              Troutman Pepper
1422 North Kingsley Drive                                       600 Peachtree Street, NE
Apt 110                                                         Suite 3000
Los Angeles, CA 90027-5760                                      Atlanta, GA 30076
Via Mail —Please provide an email                               Via MaiUEmail to: mark.windham@troutman.com

Mark J. Windham

Case Number: O1-23-0004-8093

Clinton Glen Crisher
-vs-
U.S. Bank National Association

Dear Parties:

Per the applicable Consumer Arbitration Rules,the American Arbitration Association(AAA)has made an
administrative appointrnent of Leslie Steven Marks to serve as arbitrator.

In accordance with the California Arbitration Act(CCP §1281.85 et seq.), enclosed please find the duly executed
Notice of Appointment and California Arbitrator Oath Fomn,the Notice of Compensation Arrangements, as well
as the arbitrator's resume.

We have also enclosed the Provider Organization Disclosure dated February 15,2024, which is required under
California Code of Civil Procedure Section 1281.9.

Also enclosed is the AAA's Neu~als Data Base Seazch information as of February 15, 2024, which is provided
to you pursuant to California's Ethics Standards for Neutral Arbitrators in Contractual Arbi~arion Standard
8(b)(1)(B). This search provides whether a party, a lawyer in the arbitration, or an attorney of the law firm with
which a lawyer in the arbitration is currently associated is a member ofthe AAA's panel of arbitrators.

Pursuant to California Code of Civil Procedure Section 1281.91, any party may serve a notice of disqualification
based on the disclosure statement within fifteen(15)calendar days from the date of this letter. Copies of the
objection are to be provided to all parties. However, do not copy the arbitrator on any correspondence regarding
objections to their service. Absent receipt of a notice of disqualification within the specified time, the appointment
of Leslie -Steven Marks is confirmed, as indicated by the signed Oath of Arbitrator in the Notice of Appointment.

As requested by the arbitrator and specified in the Consumer Arbitration Rules, the parties and their
representatives must inform the AAA of any circumstances likely to raise justifiable doubt as to whether the
arbitrator can remain impartial or independent Further, such obligation to provide disclosure information
remains in effect throughout the arbi~ation.

If additional information is needed from the proposed arbi~ator, please submit your request in writing to the E1AA
with a copy to all pasties.
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An arbitrator is appointed; therefore, the Case Management Fee of $1400 and an arbitrator compensation deposit
of $2500 ace due from the Business. An invoice is enclosed to facilitate payment by the Business pursuant to
California Code of Civil Procedure sections 1281.97 and 1281.98. The invoice is provided to all case participants
pursuant to these statutes. Payment can be made by credit card, eCheck, wire, or check. If paying by check, please
send payment via a trackable delivery service.

Payment from the Business is due upon receipt, As this arbitration is subject to California Code of Civil
Procedure sections 1281.97 and 1281.98, payment from the Business must be paid by 30 days from the date of
this letter or the A.AA may close this case. In accordance with California Code of Civil Procedure section 12(a),
please note that since this date falls on a weekend or holiday, payment must be paid by April 1,2024. Pursuant
to California Code of Civil Procedure section 1281.98,the AAA cannot grant any extensions to this payment
deadline unless all parties agree.

If the Business does not pay the required fees for this arbitration by April 1, 2024,the AAA will seek direction
from the Consumer regarding their options under California Code of Civil Procedure section 1281.98.
According to R-1(d)of the Consumer Arbitration Rules, should the AAA decline to administer this arbitration,
either party may choose to submit its dispute to the appropriate court for resolution.

A Preliminary Management Hearing will be scheduled after payment is received.

A copy of this correspondence has been provided to the arbitrator.

Sincerely,
/s/
AAA Case Adminis~ator 14
Case Administrator
Email: Adminl4@adr.org

Supervisor Information:        A.AA Case Manager 2, mana~er2 adr.orQ
Enclosures

cc:   Allison Ordonez
      Alexandria Pritchett
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 Case 2:23-cv-02963-SB-PVC Document 69 Filed 05/22/24 Page 12 of 27 Page ID #:600

                AMERICAN                                                                          P.O. Box 19609
                                 INTERNATIONAL CENTRE
                ARBITRATION
                                 FOR DISPUTE RESOLUTION'                                       Johnston, RI 02919
                ASSOCIATION`



 Apri12, 2024

Clinton G. Crisher                                            Mark J. Windham
1422 North Kingsley Drive                                     Troutman Pepper
Apt 110                                                       600 Peachtree Street, NE
Los Angeles, CA 90027-5760                                    Suite 3000
Via Mail                                                      Atlanta, GA 30076
9489 0090 0027 6215 9446 23                                   Via Email to: mark.windham@troutman.com


Case Number: 01-23-00048093

Clinton Glen Crisher
-vs-
U.S. Bank National Association

Dear Parties:


This confirms that the American Arbitration Association(AAA)has not received payment for the Case
Management Fee and/or arbitrator compensarion deposit requested and invoiced in our letter dated
                                                                                                  February 29,
2024. Pursuant to California Code of Civil Procedure section 1281.98, the AAA requests the Consumer review
the statute and provide written response regarding how they wish to proceed. Please respond on or
                                                                                                  before April
5,2024.

If there is an agreement to extend the payment deadline, please confirm in writing by the response date
                                                                                                        and advise
us of the agreed-upon deadline. We will then inform the arbitrator of the parties' agreement and the new
                                                                                                          payment
deadline date.

This case may still be subject to Consumer Arbitration Rule R-54, Remedies for Nonpayment, if the
                                                                                                  deposits have
not been paid in full.

A copy of this correspondence has been provided to the arbitrator.

Sincerely,
/s/
AAA Case Administrator 14
Case Administrator
Email: Adminl4@adr.org
Supervisor Information:   AAA Case Manager 2, man ger2 adr.or~

cc:   Allison Ordor~ez
      Alexandria Pritchett
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Case 2:23-cv-02963-SB-PVC Document 69 Filed 05/22/24 Page 14 of 27 Page ID #:602


                AMERICAN                                                                           P.O. Box 19609
                                  ~NTERfdATIONAL CENTRE
                L~IRBITRATION
                                  FOR DISPUTE RESOLUTION'
                                                                                                Johnston, RI 02919
                ASSOCIA'T'ION°


 Apri124, 2024

Clinton G. Crisher                                           Mark J. Windham
1422 North Kingsley Drive                                    '
                                                             I~outman Pepper
Apt 110                                                      600 Peachtree Street, NE,Suite 3000
Los Angeles, CA 90027-5760                                   Atlanta, GA 30076
Via Mail: terrificdis~action@gmail.rnm                       Via Email to: mark.windham@Qautman.com


Case Number: O1-23-00048093

Clinton Glen Crisher
-VS-
U.S. Bank National Association

Dear Parties:

This confirms the Business has not paid the Case Management Fee and arbitrator compensation deposit by the
deadline provided in the American Arbitration Association's (AAA) letter dated February 29, 2024. The
Consumer has requested to withdraw their claim in accordance with California Code of Civil Procedure secrion
1281.98. Therefore, on April 3, 2024, the AAA has administratively dosed this case due to the Business's non-
payment of this fee and/or deposit. According to R-1(d) of the Consumer Arbitrarion Rules, now that the AAA
declines to administer this arbitrarion, either party may choose to submit its dispute to the appropriate court for
resolution.

 Please note that the AA.A WebFile~ ECF Guidelines will not apply after the dosing of the case. Therefore, any
additional submissions from the parties in this matter should be submitted via email to the AAA,with copies sent
to all other parties.

We thank Arbi~ator Marks, who is receiving a copy of this correspondence, for serving on this matter.

Pursuant to the AAA's current policy, in the normal course of our administrarion, the AAA may maintain certain
electronic case documents in our elecaonic records system. Such electronic documents may not constitute a
complete case file. Other than certain types of elec~onic case, documents that the AA.A maintains indefinitely,
electronic case documents will be destroyed 18 months after the stated closing date.

Thank you for selecting AAA as your alternative dispute resolution provider.

Sincerely,
/s/
AAA Case Administrator 14
Case Administrator
Email: Adminl4~a adr.org
Supervisor Information:          AAA Case Manager 2, manager2(g~adr.ora

cc:    Allison Ordor~ez
       Alexandria Pritchett
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Case 2:23-cv-02963-SB-PVC Document 69 Filed 05/22/24 Page 16 of 27 Page ID #:604




                                                                                                      f
    December 9, 2021


   Clinton Glen Crisher


   Los Angeles, CA 90027


   U.S. Bank National Association
   Consumer Recovery Department
   Attn: CBR Disputes
   PO Box 108
   St Louis, MO 63166-0108

   RE: Request for Records Pursuant to Section 609(e) of the Fair Credit Report
                                                                                  ing Act
   U.S. Bank Cash + # 4037 8401 2659
   U.S. Bank Platinum # 4037 8401 2556~
   U.S. Bank Altitude Go #4094 5100 0507

   Dear Sir or Madam:

   'I m a victim of identity theft. In accordance with section 609(e) of the
                                                                             Fair Credit Reporting
   Act, 15 U.S.C. § 16819(e), I am requesting that you provide me copies of
                                                                                business records
   relating to all account transactions identified above. The law directs that you provide
                                                                                             these
   documents at no charge, and without requiring a subpoena, within thirty
                                                                                 (30) days of your
   receipt of this request. Enclosed with this request is the following docume
                                                                                ntation, as
   applicable:

  This letter is proof of my claim of identity theft and was sent using Certifi
                                                                                ed Mail with
  tracking and delivery confirmation. I also included a copy of the Los Angele
                                                                                 s Police Report #:
  160210581, A copy of my driver's license and a FTC Identity Theft Report #:
                                                                                  143712713.

  Please provide all records relating to the listed accounts, including:


  ~ Application records
  • screen prints of Internet/phone applications
  • Statements~nvoices
  • Payment/charge slips
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   • Investigator's summary
   • Delivery addresses
   • Aii records of phone numbers used to activate or access the account
   • Any other documents associated with the account


   Please send these records to me at the above address. If you have any questions concerning
                                                                                              this
   request, please contact me at the above address or at 323,


   Sincerely,


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          f~, '` ;
          a


           f~I


   Clinton Glen Crisher
Case 2:23-cv-02963-SB-PVC Document 69 Filed 05/22/24 Page 18 of 27 Page ID #:606


           Clinton Glen Crisher                                        323-949-4982
    Name                                               Phone number                                    Page




                                         1D Theft Af~ida~rit




                                    Clinton                 Glen                Crisper
      (I) My full legal name is
                                      (First)            (Middle)             (Last)                 Qr., Sr., llt)

      (2) (If differerrc from above)When the evertts described in his affidavit took place, I was
                                                                                                    known as


           (First)                (Middle)                    (Last)                       Qr., Sr., Ilt}
                                  23/01123
      (3) My date of birth is
                                   (day/month/year)

      (4) My Social Security number is

      (5) My driver's license or identification card state and number are

     (6} My current address is

           City Los Angeles                         State CA                      Zip Code      90027
                                                November 2017
      (~ I have lived at this address since
                                                   (month/year}

     (8) (If different from above)When the events described in this affidavit took place, my address was


           City                                     State                        Zip Code


     (9) I lived at the address in Item 8from             until
                                            (montfi/year~      (month/year~

     (10) My daytime telephone number is(323} 949-4982

           My evening telephone number is (323) X49-4982



       t~4 NOT SEfVD AFFIDAVfT TO THE FTC OR ANY OTHER
                     GOVERI~IME1~lT AGENCY
Case 2:23-cv-02963-SB-PVC Document 69 Filed 05/22/24 Page 19 of 27 Page ID #:607

              Clinton Glen Crisher                                       323-949-4982
    Marne                                                 Phone number                                Page 2


     Now the Fraud Occun~ed

        Check all that apply for items I I - 17:

       (I I~did not authorize anyone to use my name or personal information to seek the money,
            credit, loans, goods or services described in this report.

      (12) did not receive any benefit, money, goods or services as a result of the events described
         ~n this report.

      (I 3)     My iderrtification documents (for example, credit cards; birth certificate; driver's license;
                Social Security card; etc.) were       stolen   lost on or about
                                                                               (day/month/year)
      (I 4)    To the best of my knowledge and belief, the following persons) used my information (for
               ~xampfe, my name, address, date of birth, existing account numbers, Social Security
               number, mother's maiden name, etc.) or identification documents to get money, credit,
               loans, goods or services without my knowledge or authorization:



                   Name (if known)                              Name (if known)

                   Address (if known)                           Address (if known}

                   Phone numbers)(if known)                     Phone numbers)(if known)

                   Additional information (if known)            Additional information (if known)

      (I S)    I do NOT know who used my information or identification documents to get money,
               credit, loans, goods or services without my knowledge or authorization.

       {16)    Additional comments: (For example, description of the fraud, which documents or
               information were used or how the iderrtity thief gained access to your information.)

   My Spectrum home network was hacked and all devices have been going to websites I thought

   were safe. Such as your online bank, eBay, PayPal, were all redirected without me knowing to

   sites operate      y t e ma ware or ac er. D           qac ng was use to c tinge t e content on

   every webpage I visted and earn money for the perpetrators. I'm still under attack now with AT&T
   who will not help fix the problem.

      (Attach additional pages as necessary.)



       DD NOT SEND /~F~IDAVIT TO THE FTC OR ANY OTHER
                   ~O~ERNMEi~iT AGENCY
Case 2:23-cv-02963-SB-PVC Document 69 Filed 05/22/24 Page 20 of 27 Page ID #:608


              Clinton Gien Crisper                                    323-949-49$2
   Narne                                              Phone number                                Poge 3



                    .- -

      (I ~ (check one) I     arr~am not willing to assist in the prosecution of the persons)who
           committed this fraud.

      (18)(check one} I    am~ am not authorizing the release of tf~is information to law
          enforcement for the purpose of assisting them in the investigation and prosecution of the
          persons) who committed this fraud.

      (I 9)(check al{ that apply} I    hav~ have not reported the everm described in this affidavit
           to the police or other law enforcement agency. The police        did     did not write a
           report. In the event you hwe contacted the police or other law enforcement agency, please
           corrtplete the following:
             L4PD Rampart Division                    Sgt. David Due~ias
             ( encr #1)                              (Officer(,q~envy personnel taking report)
              5 1/2D16                                1602105$1
             (Date of report)
              213-484-3400                            ~~3~3690~a~apdr:onlir~~
             (Phone number                           (email address, if any)


             (/Agency #2)                            (Officer/P,gency personnel taking report)

             (Date of report)                        (Report number, if any)

             (Phone numher)                          (email address, if anY)




        Please indicate the supporting documentation you are able to provide to the companies you plan to
   notify. Attach copies(NOT originals) to the affidavit before sending it to the companies.

      (20)~copy of a valid governmerrt-issued photo   -identification card (for example, your driver's
           license, state-issued ID card or your passport). If you are under 16 and don't have a
           photo-ID, you may submit a copy of your birth certificate or a copy of your official school
           records showing your enrolment and place of residence.

      (21)       roof of residency during the time the disputed bill occurred, the loan was made or the
                other event took place (for e~cample, a rental/lease agreement in your name, a copy of a
                utility bill or a copy of an insurance bill).



        DO NOT SEND AFFIDAVIT TC3 THE ETC OR ANY OTHER
                    GOV+~RI~I~*'~~I~T AGENCY
Case 2:23-cv-02963-SB-PVC Document 69 Filed 05/22/24 Page 21 of 27 Page ID #:609



               Clinton Glen Crisher                                      323
    Name                                                Phone number                                Page 4

       (22)      A copy of the report you filed with the police or sheriff's department
                                                                                         if you are unable to
                 obtain a report or report number from the police, please indicate
                                                                                    that in Item 19. Some
                 companies only need the report number, not a copy of the report.
                                                                                     You may want to check
                 with each company.




         declare under penalt~of rjury that tine information I have
                                                                    provided in this     davit is true and
   correct to t13e-fiest of m~cn edge.

                                                               12/9/2021
      (signature)                                             (date signed)

       lCnowi glr submitting false information on this form could subject
                                                                          you to criminal
   prosecution for perjury.




      (Notary}




       Witness:


     (signature)                                              (printed name)


      (date)                                                  (telephone number)




       i~U NOT SEND AFFIDAVfT TO THE FTC OR ANY OTHER
                    ~aVERf~MENT AGENCY
Case 2:23-cv-02963-SB-PVC Document 69 Filed 05/22/24 Page 22 of 27 Page ID #:610




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      A notary public or other o~cer completing this certificate verifies only the identity of the
                                                                                                      individual who signed the
      document to which this cert'rficate is attached, and not the truthfulness, accuracy, or validity of
                                                                                                          that document.

    State of California         /~                             )
    County of                   tj                             ~
    On           ~~°I~'L\            _            before me,    ~.-Zr~b~n~_l Y-~~ _,
                                                                                   ~~w~i `[~b4Z                                   ,
                     Date                                             Here Insert Name and Title of the Officer
    personally appeared                   ('1 ~v~~~~           ~,,~,>4~„~                                  `
                                                                     Name(~pf Signer(~,C.

   who proved to me on the basis of satisfactory evidence to be the person(~whose name(
   subscribed to the within instrument and acknowledged to me that he/~4e~tt~fejc executed the is/~p~
                                                                                                 same in
   his/h~th~irauthorized capacity(i~, and that by his/I~r/their signature~on the instrument the person(
   or the entity upon behalf of which the person(~acted, executed the instrument.
                                                                  certify under PENALTY OF PERJURY under the laws
                                                                 of the State of California that the foregoing paragraph
                                  _        ~_,                   is true and correct.
                        ~g°~<«~f~             ~                  WETNESS my hand and official seal
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    ;~.~~'             Los Angel=s County
                     Commission ~ 2275b04
     +~'~«~n~~'' ~y Comn. Expires Jan 20, 2023                   Signature~_(
                                                                                      Signature of Notary Pu31ic



                   Place Notary Seal Above
                                                  OPTIONAL
      Though this section is optional, completing this information can deter alteration of the document or
                       fraudulent reattachment of this form to an unintended document.
   Description of Attached Document
   Title or Type of Document: 117 'C1ne_W-- ~r~la~
   Document Date: ~:t,~- -                                                Number of Pages: r~
   Signers) Other Than Named Above:

    Capacity(ie'~° -Clai ed by Si~ner~-,
    Signer's Name: ~cc , ~v~ C~19,~ C;~sw~'                         Signer's Name:
    ❑ Corporate Officer — Title(s):                                 ❑ Corporate Officer — Title(s):
    ❑ Partner — ❑Limited ❑General                                   ❑ Partner — ❑Limited ❑General
   !individual          ❑Attorney in Fact                           ❑ Individual       ❑Attorney in Fact
      Trustee           ❑Guardian or Conservator                    ❑ Trustee          ❑Guardian or Conservator
      Other:                                                        ❑ Other:
    Signer Is Representing:                                         Signer Is Representing:
                  Case 2:23-cv-02963-SB-PVC Document 69 Filed 05/22/24 Page 23 of 27 Page ID #:611
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Case 2:23-cv-02963-SB-PVC Document 69 Filed 05/22/24 Page 24 of 27 Page ID #:612


  Ail furnishers of consumer reports must comply wish ail
                                                           appticabte regulatlons, including regulations promulga
  this notice was first prescribed in 2004.Informati                                                               ted after
                                                     on about applicable regulations currentty in effect
  Consumer Financial Protection Bureau's websre,                                                         can be found at the
                                                     consumerflnaRce gov/Ieammore.

  NOTICE TO FURNISHERS OF INFORMATION:
  OBLIGATIONS OF FURNISHERS UNDER THE FCRA
 The federal Fair CredR Reporting Act(FCRA),15 U.S.C..§
                                                        1681-1681y,imposes responsibilfies on all persons who
 famish irTiormatian to consumer reporting agencies
                                                   (CRAB). These responsibilities are found in Section 623 ofthe
 FCRA,15 U.S.C. ~ 1681s-2. State law may impose additional
                                                           requirements on furnishers. All furnishers of information to CRAB
 should become familiar with the applicable laws and may want to
                                                                        consult with their counsel to ensure that they are in compliance
 The text of the FCRA is set forth in full at the Bureau
                                                           of Consumer Financial Protection's websfte at
:onsume~nance.gov![eammore.A list ofthe sections ofthe FCRA cross-ref
                                                                      erenced to the U.S. Code is at the end of this
document.

 Section 623 imposes the following duties:

 Accuracy Gufdeiines
 The banking and credit union regulators and the CFPB will promulga
                                                                     te guidelines and regulations dealing with the accuracy
 of information provided to CRAB by furnishers. The regulations and
                                                                    guidelines issued by the CFPB will be avai{able at
 consumerfinance.gov/leammore when they are issued. Section
                                                                 623(e).
 General Prohibition on Reporting Inaccurate information
 The FCRA prohltitts information furnishers from providing
                                                           information to a CRA that they know or have reasonable cause to
 believe is inaccurate. However,the furnisher is not subject to this
                                                                     general prohibition if i[ clearly and conspicuously specifies
 an address to which consumers may write io notify the furnisher that certain
                                                                                information is Inaccurate. Sections 623(a)(1)(A)
 and {a)(1j(C).

Duffy fo Correct and Update information
If at any time a person who regular{y and In the ordinary course of business
                                                                              furnishes information to one or more CRAs
determines that the information provided is not complete or accurate,
                                                                       the furnisher must promptly provide complete
and accurate information to the CRA_ In addition, the furnisher must notify all
                                                                                CRAB that received the information of any
corrections, and must thereafter report only the complete and accurate informati
                                                                                   on. Section 623(a)(2).
Duties After Motice of Dispute from Consumer
If a consumer notifies a furnisher, at an address specified by the furnisher
                                                                             for such notices, that specific information is
inaccurate, and the information is, in fact, inaccurate,the furnisher must thereafte
                                                                                     r report the correct information to CRAB
Section 623{a)(1)(B).

If a Consumer notifies a furnisher that the consumer disputes the completeness
                                                                                 or accuracy of any information reported by
the furnisher, the furnisher may not subsequently report that information to a CRA without providing
                                                                                                     notice of the dispute.
Section 623(a)(3).

The federal banking and credit union regulators and the CFPB will issue regulatio
                                                                                     ns that will identify when an information
furnisher must investigate a dispute made directly to the furnisher by a consumer. Once
                                                                                            these regulations are issued,
furnishers must comply with them and compete an investigation within 30 days(or
                                                                                      45 days, if the consumer later provides
relevant additional information) unless the dispute is frivolous or irrelevant or comes
                                                                                        from a "credit repair organization"The
CFPB regulations w+ll be available at consumerfinance.gov. Section 623(a)(8).

Duties After Notice of Dispute from Consumer Reporting Agency
If a CRA notifies a furnisher that a consumer disputes the completeness
                                                                           or accuracy of information provided by the
furnisher, the furnisher has a duty to follow certain procedures. The furnisher
                                                                                mush
   • Conduct an investigation and review all relevant information provided by the CRA,including
                                                                                                     information given to the
       CRA by the consumer. Sections 623(b)(1)(A) and (b)(t)(B).
   • Report the results to fhe CRA that referred the dispute. and. if the investigation establishes that
                                                                                                         the information was,
      in fact, incomplete or inaccurate, report the results to all CRAB
                                                                            to which the furnisher provided tfie information that
      compile and maintain files on a nationwide basis. Sections 623(b)(1)fC)and (b)(~(D).
 •    Complete the above steps within 30 days from the date the CRA receives the
                                                                                       dispute(or 45 days,if the consumer
      later provides relevant additional information to the CRA). Section 623(b)(2).
      Promptly modify or delete the Informatton, or block its reporting. Section 623(b}(t)(E~_
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  Duty to Report Volurrtary Closing of Gedit
                                                Accounts
  if a consumer voluntarily closes a credtt account, any
                                                          person who regularly and in the ordinary course
  information to one or more CRAB must report                                                              of business furnishes
                                                 this fact when it provides information to CRAB
  account was closed. Section 623(a}(4}.                                                        for the time period in which the

   Duty to Report Dates of Delinquencies
  !f a furnisher reports information concerning
                                                 a delinquent account placed for collection, charged
  to any similar action, the furnisher must, within                                                   io profit or loss, or subject
                                                    90 days after reporting the information, provid the
  the year of the commencement of the delinq                                                       e    CRA with the month and
                                                  uency that immediately preceded the action, so that
  long to keep the information in the consum                                                          the agency will know how
                                               er's file. Section 623(aj(5).

  Any person, such as a debt collector, that has acquir
                                                           ed or is responsible for collecting delingU
  information to CRAs may comply with                                                                  efit eCCOU(itS 811d th2t fep01t5
                                           the requirements of Section 623(aM5)(until tt,ere is a consu
  the same delinquency date previousty reported by                                                          mes dispute) by report~n9
                                                         the creditor If the creditor did not report this date,
  the FCRA by establishing reasonable procedures                                                                they may comply with
                                                        to obtain and report delinquency dates, or, if a delinq
  be reasonably obtained, by following reasonable                                                                 uency date cannot
                                                        procedures to ensure that the date reported precedes
  account was placed for collection, charged to profit                                                              the date when the
                                                          or loss, or subjected to any similar action. Sectio
                                                                                                               n 623(a)(5).
  Duties of financial Institutions When Reporting Negati
                                                               ve lnformaUon
  Financial institutions that furnish information
                                                  to "nationwide" consumer reporting agencies, as define
  m ust notify consumers in writing if they may                                                                d in Section 603(p),
                                                  furnish or have furnished negative information to a CRA. Sectio
  Consumer Financial Protection Bureau has prescribed                                                                  n 623(a)(~. The
                                                             model disclosures, l2 CFR Part 1022, App. B.
 Duties When Furnishing Medical Information
 A furnisher whose primary business is providing medical
                                                               services, products, or devices(and such furnisher's agents
 assignees) is a medical information furnisher for the purpos                                                                  or
                                                                  es of the FCRA and must notify all CRAS to which it
 this fact. Section 623(a)(9}. This notice will enable CRAB to comply                                                     reports of
                                                                          with their duties under Section 604{g)when reporting
 medical information.

 duties when tD Theft Occurs
 All furnishers must have in place reasonable procedures to
                                                                 respond to notifications from CRAB that information furnish
the result of identity theft, and to prevent refurnishing the                                                                     ed is
                                                              information in the future. A furnisher may not furnish informa
that a consumer has tdentified as resulting from identity theft                                                                  tion
                                                                   unless the furnisher subsequently knows or is inform
consumer that the information is collect. Section 623(a)(                                                                    ed by the
                                                            6). ff a furnisher learns that it has famished inaccurate information
due to identity theft, it must notify each consumer reporting agency
                                                                          of the correct information and must thereafter report
only complete and accurate information. Section fi23(a)(2). When
                                                                        any furnisher of information is notified pursuant to the
procedures set forth in Section 6056 that a debt has resulte
                                                                  d from identity theft, the furnisher may not sell, transfer, or place
for collection the debt except in certain limited circumstances. Sectio
                                                                           n 615(fl.
~e Consumer Finandal Protection Bureau website,consumerfiinance_gavtlea
                                                                                 mmore, has more information about the FCRA
~Etafiions for FORA sections in the U.S. Code,15 US.C.§ 9681 et
                                                                seq.:
                                15 U.S.C. 1681              Section 6i5                                15 U.S.C.1681m
Section 603                     l5 U.S.C. i681a             Section 616                                15 U.S.C.1681n
Section 604                     15 U.S.C."1681b             Section 617                                15 U.S.C. t6810
Section 605                     t5 U.S.C.1681c              Section 618                                15 U.S.C.1681p
Section 605A                    15 U.S.C. t681c-1           Section 619
Section 6058                                                                                           15 U.S.C.1681q
                                15 U_S.C_ 1681c-2           Section 620                               15 U.S.C. 1681r
Section 606                     15 U.S.C.168id              Section 621                               15 U.S.C. 9681s
Section 607                    15 U.S.C.1681e               Section 622                               15 U.S.C. 1681s-1
Section 608                     15 U.S.C.1681f              Section 623                               15 U.S.C.1681s-2
Section 609                    15 U.S.C. 16818              Section 624                               15 U.S.C. 1681t
Section 610                    l5 U.S.C.1681h               Section 625                               15 U.S.C. 1681u
Section 611                    15 U.S.C.1681i               Section 626                               15 U.S.C.1681v
Section 612                    15 U.S.C. 1681j              Section 627                               15 U.S.C.1681w
Section 613                    15 U.S.C.1681k               Section 628
s~c~o~ spa                                                                                            15 U.S.C.1681x
                               i5 U.s.G. t6a11              Section 629                               15 U.S.C. 1681y
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  MEMO FROM FTC TO LAW ENFORCEMENT



 To:     Law Enforcement Officer

 From: Division of Privacy and Identity Protection
       The Federal Trade Commission

 Re:     Importance of Identity Theft Report



The purpose of this memorandum is to explain what an "Identi
                                                                  ty Theft Report" is, and its importance to
identity theft victims in helping them to recover. A police report
                                                                    that contains specific details of an identity
theft is considered an "Identity Theft Report" under section
                                                               6058 of the Fair Credit Reporting Act(FCRA), and it
entitles an identity theft victim to certain important protec
                                                              tions that can help him or her recover more quickly
from identity theft.

Specifically, under sections 6056,615(f) and 623(a}(6) of the FCRA,
                                                                       an Identity Theft Report can be used to
permanently block fraudulent information that results from
                                                               idenfity theft, such as accounts or addresses,from
appearing on a victim's credit report. It will also make sure these
                                                                    debts do not reappear on the credit reports.
Identity Theft Reports can prevent a company from
                                                       continuing to collect debts that result from identity theft,
or selling them to others for collection. An Identity Theft Report
                                                                   is also needed to allow an identity theft victim
to place an extended fraud alert on his or her credit report
                                                             .
 In order for a police report to be incorporated in an Identit
                                                               y Theft Report, and therefore entitle an identity
theft victim to the protections discussed above, the police
                                                               report must contain details about the accounts and
 inaccurate information that resulted from the identity theft.
                                                                 We advise victims to bring a printed copy of their
 ID Theft Complaint filed with the FTC with them to the police
                                                                  station in order to better assist you in creating
a detailed police report so that these victims can access
                                                           the important protections available to them if they
have an Identity Theft Report. The victim should sign the
                                                             ID Theft Complaint in your presence. If possible, you
should attach or incorporate the ID Theft Compla
                                                   int into the police report, and sign the "Law Enforcement
Report Information" section of the FTC'S ID Theft Complaint.
                                                                 In addition, please provide the identity theft
victim with a copy of the Identity Theft Report(the police
                                                              report with the victim's ID Theft Complaint attached
or incorporated)to permit the victim to dispute the fraudulent accoun
                                                                           ts and debts created by the identity
thief.

For additional information on Identity Theft Reports or identit
                                                                y theft, please visit www.ftc.gov/idtheft.
             Case 2:23-cv-02963-SB-PVC Document 69 Filed 05/22/24 Page 27 of 27 Page ID #:615
    ~~~ ~                                        CLiNTON CRISHER
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                                                                                                                                                  Nov 25, 2021
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Account summary
Your last bill                                                                                              $48.g~

Past due -please pay immediately                                                                          ,,..



Service summary                                                                                                           What's changed?

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           Phone                                    PQ~~                                                   $41.89
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Total services -due Dec 17, 2021                                                                          $61.92


    Total due                                                                                       $110.74


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